      Case 2:19-cv-00390-TOR      ECF No. 56    filed 10/06/20      PageID.469 Page 1 of 3




 1
     Kenneth E. Payson, WSBA #26369                     The Honorable Thomas O. Rice
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 4   Telephone: 206.622.3150
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 6

 7                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
 8

 9   ISAAC GORDON, an individual, and    )
     all those similarly situated,       ) Case No.: 2:19-cv-0390 TOR
10                                       )
                 Plaintiff,              ) SATISFACTION OF JUDGMENT
11                                       )
          vs.                            )
12                                       )
     ROBINHOOD FINANCIAL, LLC, a )
13   Delaware limited liability company, )
                                         )
14               Defendant.              )
                                         )
15        Robinhood Markets, Inc. (“Robinhood Markets”) acknowledges full

16   satisfaction of the judgment it obtained against Plaintiff Isaac Gordon on April 1,

17   2020, for attorney’s fees [Dkt. 30].

18         The clerk of the above-entitled Court is hereby authorized and requested to

19   enter full satisfaction of the judgment on the docket.

20
     SATISFACTION OF JUDGMENT- 1                                      Davis Wright Tremaine LLP
                                                                             L AW O FFICES
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21                                                                      Seattle, WA 98104-1610
                                                                 206.622.3150 main · 206.757.7700 fax

     4833-9548-4877v.2 0114672-000001
22
      Case 2:19-cv-00390-TOR     ECF No. 56   filed 10/06/20      PageID.470 Page 2 of 3




 1         Dated this 6th day of October, 2020.

 2
                                          Davis Wright Tremaine LLP
                                          Attorneys for Robinhood Markets, Inc.
 3
                                          s/ Kenneth E. Payson
 4
                                          Kenneth E. Payson, WSBA #26369
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     SATISFACTION OF JUDGMENT- 2                                    Davis Wright Tremaine LLP
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      Case 2:19-cv-00390-TOR       ECF No. 56    filed 10/06/20      PageID.471 Page 3 of 3




 1                             CERTIFICATE OF SERVICE

 2         I hereby certify that on this day I caused to be electronically filed the foregoing

     with the Clerk of the Court using the CM/ECF system, which will send notification
 3
     of such filing to those attorneys of record registered on the CM/ECF system.
 4
           DATED this 6th day of October, 2020.
 5

 6                                               Davis Wright Tremaine LLP
                                                 Attorneys for Robinhood Markets, Inc.
 7
                                                 s/ Kenneth E. Payson
 8                                               Kenneth E. Payson, WSBA #26369

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     SATISFACTION OF JUDGMENT- 3                                       Davis Wright Tremaine LLP
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